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UNITED STATES DISTRICT COURT
wEsTERN DISTRICT oF TENNESSEE 05 JUL -8 PH 2= li9
Western Division

 

UNITED STATES OF AMERICA

-v- Case No. 2:05cr20251-04Ma

W.C. WOOTEN

 

ORDER SETT|NG
COND|T|ONS OF RELEASE

IT IS ORDERED that the release of the defendant is subject to the following conditions and provisions:

(l) The defendant shall not commit any offense in violation of federal, state or local law while on release in this
ease.
(2) The defendant shall immediately advise the court, Pretrial Services Off`lce, Probation Off'ice, defense counsel

and the U.S. Attorney in writing of any change in address and telephone number.
(3) The defendant shall appear at all proceedings as required and shall surrender for service of any sentence

imposed as directed The defendant shall next appear for Arraignment in the United States Courthouse and
Federal Building in Courtroom #5 on Wednesday, July 13, 2005, at 9:30am.

ADD|T|ONAL CONDIT|ONS OF RELEASE

In order reasonably to assure the appearance of the defendant and the safety of other persons and the
community, it is FURTHER ORDERED that the release of the defendant is subject to the conditions marked below:

Secured Finaneial Conditions

0 Execute a bond in the amount of $10,000.00 or an agreement to forfeit upon failure to appear as required,
and post with the following amount of money to be deposited into the registry of the Court: 10%.

0 report as directed by the Pretrial Services Off'lce.

0 Abide by the following restrictions on personal association, place of abode, or travel: Defendant is restricted
in residence and travel to the Western District of Tennessee.

0 Refrain from possessing a flrearm, destructive device, or other dangerous weapon.
0 Refrain from any use or unlawful possession of a narcotic drug or other controlled substances in 21 U.S.C. §

802, unless with prior written approval of the Pretrial Services Ofticer or as may be lawfully prescribed in
writing by a licensed medical practitioner.

A° 199" 0’°9'3€“‘"9 C°"d“i°"§°fRe'eaSe This document enteredlen the docket sheet in compliance //
with Ru!e 55 and/or 32(b) FRCrP on "

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0 Submit to any method of testing required by the Pretrial Services office or the supervising officer for
determining whether the defendant is using a prohibited substance Such methods may be used with random
frequency and include urine testing, the wearing of a sweat patch, a remote alcohol testing system, andf or any
form of prohibited substance screening or testing.

0 Participate in a program of inpatient or outpatient substance abuse testing, education or treatment if deemed
advisable by Pretrial Services and pay a percentage of the fee as detemn`ned by Pretrial Services.

ADV|CE OF PENALT|ES AND SANCTlONS
TO THE DEFENDANT:

YOU ARE ADV|SED OF THE FOLLOW|NG PENALT|ES AND SANCT|ONS:

A violation of any of the foregoing conditions of release may result in the immediate issuance of a warrant for
your arrest, a revocation of release, an order of detention, and a prosecution for contempt of court and could result in
a term of irnprisonment, a fine, or both.

The commission of a Federal offense while on pretrial release may result in an additional sentence to a term
of imprisonment of not more than ten years, if the offense is a felony; or a term of imprisonment of not more than one
year, if the offense is a niisdemeanor. ’I`his sentence shall be in addition to any other sentence.

Federal law makes it a crime punishable by up to ten years of irnprisonment, and a $250,000 fine or both to
obstruct a criminal investigation lt is a crime punishable by up to ten years of irnprisonment, and a $250,000 fine or
both to tamper with a witness, victim or informant; to retaliate or attempt to retaliate against a witness, victim or
informant; or to intimidate or attempt to intimidate a witness, victim, juror, informant or officer of the court. The
penalties for tampering, retaliation, or intimidation are significantly more serious if they involve a killing or attempted
killing.

If after release, you knowingly fail to appear as required by the conditions of release, or to surrender for the
service of Sentence, you may be prosecuted for failing to appear or surrender and additional punishment may be
imposedl If you are convicted of:

(l) an offense punishable by death, life irnprisonment, or imprisonment for a term of fifteen years or more, you
shall be fined not more than $250,000 or imprisoned for not more than ten years, or both;
(2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years, you shall

be fined not more than $250,000 or imprisoned not more than five years, or both;
(3) any other felony, you shall be fined not more than $250,000 or imprisoned not more than two years, or both;
(4) a misdemeanor, you shall be fined not more than $100,000 or imprisoned not more than one year, or both.
A term of imprisonment imposed for failure to appear or surrender shall be in addition to the sentence for any
other offense. In addition, a failure to appear may result in the forfeiture of any bond posted

AO 199A Order Setting Conditions of Release '2'

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ACKNOWLEDGMENT OF DEFENDANT

l acknowledge that l am the defendant in this case and that I am aware of the conditions of release, l promise
to obey all conditions of release, to appear as directed, and to surrender for service of any sentence imposed. I am aware

of the penalties and sanctions set forth above. M
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`Signati.ire Bf D§endant

W.C. Wooten

1373 Richniond, Apt. #4

Mernphis, TN 38106

(901) 947-3248 (neighbor Charles Dabney)

DlRECT|ONS TO THE UN|TED STATES MARSHAL

The defendant is ORDERED released after processing
The United States marshal is ORDERED to keep the defendant in custody until notified by the Clerk or
J udicial Officer that the defendant has posted bond and/or complied with all other conditions for release. The

defendant shall be produced before the appropriate judicial officer at the time and place specified, if still in
custody.

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Dae: Juiy 8,2005 /@V(M(,@ /‘\V¢ %W//MF

DIANE K. VESCOVO
UNITED STATES MAGISTRATE IUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number ll in
case 2:05-CR-20251 Was distributed by faX, mail, or direct printing on
July 12, 2005 to the parties listed.

 

 

Camille Reese Mcl\/lullen
U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

